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Farrell, Kaitie

From:                              Speer, R. Taylor <TSpeer@foxrothschild.com>
Sent:                              Friday, November 3, 2023 10:46 AM
To:                                Farrell, Kaitie
Cc:                                Feinstein, Marc; Stutz, Kate
Subject:                           Re: Bitmain


[EXTERNAL MESSAGE]



Just left you a voicemail. I’m traveling today. Please feel free to call my cell phone 904-608-9529.

R. Taylor Speer
Counsel
Fox Rothschild LLP

From: Farrell, Kaitie <kfarrell@omm.com>
Sent: Friday, November 3, 2023 12:16:32 AM
To: Speer, R. Taylor <TSpeer@foxrothschild.com>
Cc: Feinstein, Marc <mfeinstein@omm.com>; Stutz, Kate <kstutz@omm.com>
Subject: [EXT] RE: Bitmain

Hi Taylor,

We have been awaiting a plan for the distribution of Bitmain’s machines since October 18. Now that BPW and
Blockquarry have settled, please let us know when we can expect the plan. We would like to arrange an
expeditious return of the machines.

Thanks,
Kaitie

Kaitlyn G. Farrell
O: +1-213-430-7869
kfarrell@omm.com


From: Farrell, Kaitie
Sent: Tuesday, October 31, 2023 11:59 AM
To: 'Speer, R. Taylor' <TSpeer@foxrothschild.com>
Cc: Feinstein, Marc <mfeinstein@omm.com>; Stutz, Kate <kstutz@omm.com>
Subject: RE: Bitmain

Hi Taylor,

Following up to see whether Blockquarry has finalized a plan and timeline for distribution of the machines.

Thank you,
Kaitie

Kaitlyn G. Farrell
O: +1-213-430-7869
                                                             1
          7:23-cv-01427-TMC             Date Filed 03/27/24            Entry Number 106-3          Page 2 of 2
kfarrell@omm.com


From: Farrell, Kaitie
Sent: Monday, October 23, 2023 2:17 PM
To: 'Speer, R. Taylor' <TSpeer@foxrothschild.com>
Cc: Feinstein, Marc <mfeinstein@omm.com>; Stutz, Kate <kstutz@omm.com>
Subject: RE: Bitmain

Hi Taylor,

Checking in to see whether you are able to share a distribution plan yet. Can you also provide an estimated
timeline for the distribution?

Thank you,
Kaitie

Kaitlyn G. Farrell
O: +1-213-430-7869
kfarrell@omm.com


From: Speer, R. Taylor <TSpeer@foxrothschild.com>
Sent: Wednesday, October 18, 2023 11:59 AM
To: Feinstein, Marc <mfeinstein@omm.com>; Farrell, Kaitie <kfarrell@omm.com>
Subject: Bitmain


[EXTERNAL MESSAGE]



Mark and Katie, BPW is letting Blockquarry on the Premises for an inspection and to determine the equipment
needed to vacate. I’ll be able to provide a plan for distribution to Bitmain (or other communication with relevant
information) shortly. Best,

                                                      R. Taylor Speer
                                                      Counsel
                                                      Greenville, SC
                                                      (864) 751-7665
                                                      * 827-7665




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